Case 2:05-mc-70840-GER ECF No. 13, PagelD.9 Filed 03/08/05 Page 1 of 2

  

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES GF AMERICA, 0 5 X @ Q 8 4 0
Plaintiff, Criminal No. 03-80810
Vv. Honorable Gerald E. Rosen
D-1 AHMAD MUSA JERRIL, S af vw"
D-2 MUSA ABDALL L mt a
AH JEBRIL, ee 2 =
Defendants. ARO do 4
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oe |
SUBHIEH JEBRIL'S PETITIONTO IC,
ADJUDICATE THE VALIDITY OF
HER INTEREST IN
4957 ROSALIE, DEARBORN, MICHIGAN

 

NOW COMES Petitioner, Subhieh Jebril, by and through her attorney, Jorin G. Rubin the
following:

L. 1am the wife of Musa Abdallah Jebril, We were married in 1964 and are still
married to this day.

2, On November 9, 1979, my husband and | purchased the property located at 4957
Rosalie, Dearborm, Michigan for $15,000 (hereinafter the “subject property”). We received a
warranty deed related to the subject property.

3. My interest in the subject property fs based on the fact that the title is in my name
with my husband. Under Michigan law, my husband and I own the subject property as tenants
by the entireties which prevents its forfeiture. See US. v. 2525 Leroy Lane, 910 F, 2d 343 (6
Cir. 1990), cert. denied, 111 §.Ct. 1414 (1991).

4. Ido not know of any acts conducted by the Defendants that would give rise to the

forfeiture of the subject property.

 

 

 
  

 

Case. 2:05-mc-70840-GER ECF No..13, PageID 10. Filed 03/08/05 Page 2 of 2

5. Based on my ownership interest in the subject property, the property cannot be
forfeited to the government.
G. Pursuant to 2] U.S.C, 9853(n)(6)(A) and (B), J have a legal right, title and/or
_ intetest recognized by law that is superior to that of the Defendants at the time the alleged
commission of the acts occurred which gave rise to this forfeiture and I am a bona fide purchaser
of the subject property without reason to believe that the property was subject to forfeiture.
WHEREFORE, Petitioner, Subheih Jebril, seeks to have her ownership interest in the
subject property adjudicated by the Courts and have the forfeiture action against this property

dismissed in its entirety.

T declare, under penalty of perjury, that the facts contained in this Petition are true to the best of
my ability and information.

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Subheih Jebril

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(ROTARY PUBLIC, STATE OFA Respectfully submitted,
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Jorin G. Rubin (P60867)
Law Office of Jotin G, Rubin, PC
Altomey for Plaintiff
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Dated: March 3, 2005

 

 
